                                 Case 3:24-bk-01709-BAJ                           Doc 1      Filed 06/17/24               Page 1 of 105

 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

               Middle District of Florida

 Case number (If known):                           Chapter you are filing under:
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                              ❑ Check if this is an
                                                           Chapter 12
                                                   ✔
                                                   ❑       Chapter 13
                                                                                                                                                 amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                              12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Justin                                                          Megan
       Write the name that is on your         First name                                                      First name
       government-issued picture               Edwin                                                           Diana
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Randolph                                                        Randolph
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden
       names and any assumed, trade           Middle name                                                     Middle name
       names and doing business as
       names.
                                              Last name                                                       Last name
       Do NOT list the name of any
       separate legal entity such as a
       corporation, partnership, or LLC       Business name (if applicable)                                   Business name (if applicable)
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 1           5    8   0                               xxx - xx - 3           2    0     3
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number
                                              9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
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 Debtor 1            Justin              Edwin                       Randolph
 Debtor 2            Megan               Diana                       Randolph                                       Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                      -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          94894 Windflower Trail
                                          Number            Street                                        Number           Street




                                          Fernandina Beach, FL 32034
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Nassau
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ✔ Over the last 180 days before filing this petition, I
                                                                                                          ❑
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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 Debtor 1           Justin             Edwin                   Randolph
 Debtor 2           Megan              Diana                   Randolph                                       Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ✔
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ❑ No.
       within the last 8 years?
                                       ✔ Yes. District Middle District of Florida
                                       ❑                                                        When 12/28/2023            Case number 3:23-bk-03204
                                                                                                     MM / DD / YYYY
                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY
                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY



  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an               District                                      When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                Debtor                                                                  Relationship to you

                                                District                                      When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ✔ No. Go to line 12.
                                       ❑
                                       ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                 ❑ No. Go to line 12.
                                                 ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
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 Debtor 1           Justin                 Edwin                   Randolph
 Debtor 2           Megan                  Diana                   Randolph                                       Case number (if known)
                    First Name             Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.        Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                               City                                                State            ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                         Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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 Debtor 1           Justin              Edwin                   Randolph
 Debtor 2           Megan               Diana                   Randolph                                     Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
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 Debtor 1           Justin              Edwin                   Randolph
 Debtor 2           Megan               Diana                   Randolph                                       Case number (if known)
                    First Name          Middle Name             Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                            You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                              ✔ I received a briefing from an approved credit
                                                                                                       ❑
      bankruptcy. You must truthfully       counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      check one of the following            filed this bankruptcy petition, and I received a               filed this bankruptcy petition, and I received a
      choices. If you cannot do so,         certificate of completion.                                     certificate of completion.
      you are not eligible to file.
                                            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment
      If you file anyway, the court         plan, if any, that you developed with the agency.              plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                ❑ I received a briefing from an approved credit
      paid, and your creditors can          counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      begin collection activities           filed this bankruptcy petition, but I do not have a            filed this bankruptcy petition, but I do not have a
      again.                                certificate of completion.                                     certificate of completion.
                                            Within 14 days after you file this bankruptcy petition,        Within 14 days after you file this bankruptcy petition,
                                            you MUST file a copy of the certificate and payment            you MUST file a copy of the certificate and payment
                                            plan, if any.                                                  plan, if any.
                                        ❑ I certify that I asked for credit counseling services        ❑ I certify that I asked for credit counseling services
                                            from an approved agency, but was unable to                     from an approved agency, but was unable to
                                            obtain those services during the 7 days after I                obtain those services during the 7 days after I
                                            made my request, and exigent circumstances                     made my request, and exigent circumstances
                                            merit a 30-day temporary waiver of the                         merit a 30-day temporary waiver of the
                                            requirement.                                                   requirement.
                                            To ask for a 30-day temporary waiver of the                    To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why you          what efforts you made to obtain the briefing, why you
                                            were unable to obtain it before you filed for                  were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                     bankruptcy, and what exigent circumstances
                                            required you to file this case.                                required you to file this case.

                                             Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                             If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                             along with a copy of the payment plan you                      along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                             be dismissed.                                                  be dismissed.

                                             Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                             for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit         ❑ I am not required to receive a briefing about credit
                                            counseling because of:                                         counseling because of:
                                            ❑ Incapacity. I have a mental illness or a mental              ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me                                      deficiency that makes me
                                                               incapable of realizing or making                              incapable of realizing or making
                                                               rational decisions about finances.                            rational decisions about finances.
                                            ❑ Disability.      My physical disability causes me            ❑ Disability.     My physical disability causes me
                                                               to be unable to participate in a                              to be unable to participate in a
                                                               briefing in person, by phone, or                              briefing in person, by phone, or
                                                               through the internet, even after I                            through the internet, even after I
                                                               reasonably tried to do so.                                    reasonably tried to do so.
                                            ❑ Active duty. I am currently on active military               ❑ Active duty. I am currently on active military
                                                               duty in a military combat zone.                               duty in a military combat zone.

                                             If you believe you are not required to receive a               If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.

Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
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 Debtor 1           Justin                Edwin                    Randolph
 Debtor 2           Megan                 Diana                    Randolph                                         Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ❑ No. Go to line 16b.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ❑ Yes. Go to line 17.
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ✔
                                             ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any         ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ❑ No
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ❑ 1-49            ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ✔ 50-99
                                              ❑                 ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                     ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ✔ $500,001-$1 million
                                              ❑                                    ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ✔ $500,001-$1 million
                                              ❑                                    ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Justin Edwin Randolph                                     ✘ /s/ Megan Diana Randolph
                                       Justin Edwin Randolph, Debtor 1                                 Megan Diana Randolph, Debtor 2
                                       Executed on 06/12/2024                                          Executed on 06/12/2024
                                                        MM/ DD/ YYYY                                                   MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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 Debtor 1           Justin                  Edwin                   Randolph
 Debtor 2           Megan                   Diana                   Randolph                                       Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Bryan K. Mickler                                                 Date 06/12/2024
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                    Bryan K. Mickler
                                                  Printed name

                                                    Law Offices of Mickler & Mickler, LLP
                                                  Firm name

                                                    5452 Arlington Expy.
                                                  Number           Street




                                                    Jacksonville                                                   FL       32211
                                                  City                                                             State   ZIP Code




                                                  Contact phone (904) 725-0822                       Email address bkmickler@planlaw.com


                                                    091790                                                         FL
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
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 Fill in this information to identify your case and this filing:

  Debtor 1                 Justin                       Edwin                        Randolph
                           First Name                  Middle Name                  Last Name

  Debtor 2                 Megan                        Diana                        Randolph
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                          Middle                    District of          Florida

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      Homestead residence                              ✔ Single-family home
                                                                  ❑                                                                     the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                 94894 Windflower Trail                           ❑ Land
                                                                  ❑ Investment property                                                            $447,567.00                 $447,567.00
                 Fernandina Beach, FL 32034                       ❑ Timeshare                                                          Describe the nature of your ownership interest
                City               State         ZIP Code
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                 Nassau                                           Who has an interest in the property? Check one.                      a life estate), if known.
                County                                            ❑ Debtor 1 only                                                       Fee Simple
                                                                  ❑ Debtor 2 only
                                                                  ✔ Debtor 1 and Debtor 2 only
                                                                  ❑                                                                    ❑ Check if this is community property
                                                                  ❑ At least one of the debtors and another                                 (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:

                                                                  Source of Value: Property Appraiser



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                               $447,567.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑


Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
                               Case 3:24-bk-01709-BAJ                                   Doc 1            Filed 06/17/24                    Page 10 of 105
Debtor Randolph, Justin Edwin ; Randolph, Megan Diana                                                                       Case number (if known)



       3.1     Make:                           Toyota            Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                          Corolla           ✔ Debtor 2 only
                                                                 ❑                                                                     Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2016              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            98,000            ❑ Check if this is community property (see                                           $8,000.00                  $8,000.00
                                                                      instructions)
               Other information:

                VIN: 2T1BURHE5GC580671


       If you own or have more than one, describe here:

       3.2     Make:                          Chevrolet          Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                 Silverado 1500             ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ✔ Debtor 1 and Debtor 2 only
                                                                 ❑                                                                    Current value of the            Current value of the
               Year:                           2021              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            38,000            ❑ Check if this is community property (see                                         $30,600.00                 $30,600.00
                                                                      instructions)
               Other information:

                VIN: 3GCPYBEK2MG443846


       3.3                          Harley Davidson              Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Make:
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                          FLTRXS            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ✔ Debtor 1 and Debtor 2 only
                                                                 ❑                                                                    Current value of the            Current value of the
               Year:                           2018              ❑ At least one of the debtors and another                            entire property?                portion you own?
               Approximate mileage:                              ❑ Check if this is community property (see                                         $19,500.00                 $19,500.00
                                                                      instructions)
               Other information:

                Motorcycle



 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                               $58,100.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
                           Case 3:24-bk-01709-BAJ                       Doc 1         Filed 06/17/24             Page 11 of 105
Debtor Randolph, Justin Edwin ; Randolph, Megan Diana                                                Case number (if known)



  Part 3:         Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                     Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            4 Bedroom Sets, Living Room Set, Dining Room Set, End Tables, Knick                                              $900.00
                                    Knacks, used appliances

 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                             $600.00
                                    4 TVs, 2 Computers, Broken IPads, cell phones


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                             $700.00
                                    2 Pistols


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                               $25.00
                                    Clothing


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                             $200.00
                                    Watch, Costume Jewelry


Official Form 106A/B                                                Schedule A/B: Property                                                             page 3
                                    Case 3:24-bk-01709-BAJ                                             Doc 1                Filed 06/17/24                         Page 12 of 105
Debtor Randolph, Justin Edwin ; Randolph, Megan Diana                                                                                             Case number (if known)



 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                          $2,425.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................   Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Checking account:                           Bank of America                                                                                               $100.00

                                             17.2. Checking account:                           VyStar CU                                                                                                     $500.00

                                             17.3. Savings account:                            Bank of America                                                                                                  $1.00

                                             17.4. Savings account:                            VyStar CU                                                                                                     $105.00

                                             17.5. Other financial account:                    Cash App                                                                                                         $0.00

                                             17.6. Other financial account:                    Cash App                                                                                                         $0.00

                                             17.7. Other financial account:                    Venmo                                                                                                            $0.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ❑ No
       ✔ Yes .....................
       ❑                                    Institution or issuer name:

                                              Merrill Lynch Brokerage account                                                                                                                              $1,400.00




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                       page 4
                              Case 3:24-bk-01709-BAJ                          Doc 1     Filed 06/17/24         Page 13 of 105
Debtor Randolph, Justin Edwin ; Randolph, Megan Diana                                              Case number (if known)



 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
          information about
          them....................   Name of entity:                                                        % of ownership:

                                      BLT Home Solutions, LLC - owns hand tools and bank                                100.00%
                                                                                                                                       $750.00
                                      account


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
          information about
          them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each
       ❑
          account separately. Type of account:                 Institution name:

                                     401(k) or similar plan:    401K                                                                 $38,000.00

                                     401(k) or similar plan:    401K with Vanguard                                                   $40,000.00




Official Form 106A/B                                                      Schedule A/B: Property                                         page 5
                               Case 3:24-bk-01709-BAJ                         Doc 1          Filed 06/17/24            Page 14 of 105
Debtor Randolph, Justin Edwin ; Randolph, Megan Diana                                                      Case number (if known)



 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                        Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...




Official Form 106A/B                                                      Schedule A/B: Property                                           page 6
                            Case 3:24-bk-01709-BAJ                       Doc 1       Filed 06/17/24             Page 15 of 105
Debtor Randolph, Justin Edwin ; Randolph, Megan Diana                                               Case number (if known)



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                them, including whether you                                                                   Federal:
                already filed the returns and
                the tax years. ...................                                                            State:

                                                                                                              Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                              Alimony:

                                                                                                              Maintenance:

                                                                                                              Support:

                                                                                                              Divorce settlement:

                                                                                                              Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes. Name the insurance company
       ❑
                of each policy and list its value. ...   Company name:                         Beneficiary:                          Surrender or refund value:

                                                         employer based only                                                                             $0.00

Official Form 106A/B                                                 Schedule A/B: Property                                                              page 7
                                 Case 3:24-bk-01709-BAJ                                        Doc 1              Filed 06/17/24                       Page 16 of 105
Debtor Randolph, Justin Edwin ; Randolph, Megan Diana                                                                                  Case number (if known)




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                           $80,856.00



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 8
                                 Case 3:24-bk-01709-BAJ                                        Doc 1              Filed 06/17/24                       Page 17 of 105
Debtor Randolph, Justin Edwin ; Randolph, Megan Diana                                                                                  Case number (if known)



 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                         Name of entity:                                                                                            % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   ❑ No
                   ❑ Yes. Describe. .........


 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                  $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                  page 9
                                 Case 3:24-bk-01709-BAJ                                        Doc 1              Filed 06/17/24                       Page 18 of 105
Debtor Randolph, Justin Edwin ; Randolph, Megan Diana                                                                                  Case number (if known)



 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                              ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                 $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                            ➔                      $0.00




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                 page 10
                                  Case 3:24-bk-01709-BAJ                                          Doc 1               Filed 06/17/24                        Page 19 of 105
Debtor Randolph, Justin Edwin ; Randolph, Megan Diana                                                                                      Case number (if known)



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔       $447,567.00


 56.   Part 2: Total vehicles, line 5                                                                              $58,100.00

 57.   Part 3: Total personal and household items, line 15                                                           $2,425.00

 58.   Part 4: Total financial assets, line 36                                                                     $80,856.00

 59.   Part 5: Total business-related property, line 45                                                                     $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                         $141,381.00               Copy personal property total             ➔   +   $141,381.00



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                               $588,948.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                               page 11
                             Case 3:24-bk-01709-BAJ                        Doc 1            Filed 06/17/24           Page 20 of 105
 Fill in this information to identify your case:

  Debtor 1            Justin                  Edwin                 Randolph
                      First Name             Middle Name           Last Name

  Debtor 2            Megan                   Diana                 Randolph
  (Spouse, if filing) First Name             Middle Name           Last Name

  United States Bankruptcy Court for the:                Middle               District of       Florida

  Case number
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and        Current value of the       Amount of the exemption you claim             Specific laws that allow exemption
       line on Schedule A/B that lists this         portion you own
       property                                                                Check only one box for each exemption.
                                                    Copy the value from
                                                    Schedule A/B

       Brief             Homestead                         $447,567.00
       description:      residence
                         94894 Windflower Trail
                         Fernandina Beach, FL
                         32034                                                 ✔
                                                                               ❑              $0.00                          Fla. Const. art. X § 4(a)(1); Fla.
       Line from                                                               ❑ 100% of fair market value, up to            Stat. Ann. §§ 222.01, .02
       Schedule A/B:        1.1                                                     any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                               page 1 of 2
                               Case 3:24-bk-01709-BAJ                Doc 1       Filed 06/17/24               Page 21 of 105
Debtor 1            Justin            Edwin                Randolph                         Case number (if known)
Debtor 2            Megan             Diana                Randolph
                First Name            Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and    Current value of the     Amount of the exemption you claim             Specific laws that allow exemption
     line on Schedule A/B that lists this     portion you own
     property                                                          Check only one box for each exemption.
                                              Copy the value from
                                              Schedule A/B

     Brief              2016 Toyota                    $8,000.00
     description:       Corolla
                        VIN:
                        2T1BURHE5GC580671                              ✔
                                                                       ❑          $1,000.00                          Fla. Stat. Ann. § 222.25(1)
     Line from                                                         ❑ 100% of fair market value, up to
     Schedule A/B:           3.1                                             any applicable statutory limit

     Brief              4 Bedroom Sets,                  $900.00
     description:       Living Room Set,
                        Dining Room Set,
                        End Tables, Knick
                        Knacks, used
                        appliances                                     ✔
                                                                       ❑           $900.00                           Fla. Const. art. X, § 4(a)(2)
     Line from                                                         ❑ 100% of fair market value, up to
     Schedule A/B:           6                                               any applicable statutory limit

     Brief              4 TVs, 2                         $600.00
     description:       Computers,
                        Broken IPads, cell
                        phones                                         ✔
                                                                       ❑           $600.00                           Fla. Const. art. X, § 4(a)(2)
     Line from                                                         ❑ 100% of fair market value, up to
     Schedule A/B:           7                                               any applicable statutory limit

     Brief              2 Pistols                        $700.00
     description:                                                      ✔
                                                                       ❑           $500.00                           Fla. Const. art. X, § 4(a)(2)
     Line from                                                         ❑     100% of fair market value, up to
     Schedule A/B:           10                                              any applicable statutory limit

     Brief              401K                          $38,000.00
     description:                                                      ✔
                                                                       ❑         $38,000.00                          11 U.S.C. § 522(b)(3)(C)
     Line from                                                         ❑     100% of fair market value, up to
     Schedule A/B:           21                                              any applicable statutory limit

     Brief              401K with                     $40,000.00
     description:       Vanguard                                       ✔
                                                                       ❑         $40,000.00                          11 U.S.C. § 522(b)(3)(C)
     Line from                                                         ❑ 100% of fair market value, up to
     Schedule A/B:           21                                              any applicable statutory limit




Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                          page 2 of 2
                                  Case 3:24-bk-01709-BAJ                    Doc 1             Filed 06/17/24              Page 22 of 105
 Fill in this information to identify your case:

     Debtor 1           Justin                 Edwin                  Randolph
                        First Name             Middle Name           Last Name

     Debtor 2           Megan                  Diana                  Randolph
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:               Middle               District of         Florida

     Case number (if
     known)                                                                                                                                    ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this    portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                 If any

     2.1 GM Financial                                  Describe the property that secures the claim:                   $39,000.00             $30,600.00       $8,400.00
         Creditor’s Name
                                                       2021 Chevrolet Silverado 1500
          4001 Embarcadero Dr
         Number          Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
          Arlington, TX 76014                          ❑ Unliquidated
         City               State       ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ❑ Debtor 1 only                               ❑ An agreement you made (such as mortgage or secured car loan)
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ✔ Debtor 1 and Debtor 2 only
         ❑                                             ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred         3/1/2018       Last 4 digits of account number          2     7     7   7

         Add the dollar value of your entries in Column A on this page. Write that number here:                       $39,000.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 3
                              Case 3:24-bk-01709-BAJ                 Doc 1         Filed 06/17/24                Page 23 of 105
Debtor 1         Justin               Edwin                   Randolph                        Case number (if known)
Debtor 2         Megan                Diana                   Randolph
                First Name            Middle Name             Last Name


                                                                                                      Column A               Column B                Column C
                Additional Page                                                                       Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                   that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,               Do not deduct the
                followed by 2.4, and so forth.                                                        value of collateral.
                                                                                                                             claim                   If any

  2.2 Harley Davidson Financial                 Describe the property that secures the claim:                  $31,065.00           $19,500.00        $11,565.00
      Creditor’s Name
                                                 2018 Harley Davidson FLTRXS
       Attn: Bankruptcy
                                                 Motorcycle
       PO Box 22048                             As of the date you file, the claim is: Check all that apply.
      Number         Street
                                                ❑ Contingent
       Carson City, NV 89721-2048               ❑ Unliquidated
      City              State      ZIP Code     ❑ Disputed
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ❑ Debtor 1 only                           ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                           ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                         ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred      10/1/2022     Last 4 digits of account number         0    1   6    1

  2.3 LoanCare Mortgage                         Describe the property that secures the claim:              $447,567.00             $447,567.00                $0.00
      Creditor’s Name
                                                 Homestead residence
       P.O. Box 37628
                                                 94894 Windflower Trail Fernandina Beach, FL 32034
      Number         Street
                                                As of the date you file, the claim is: Check all that apply.
                                                ❑ Contingent
       Philadelphia, PA 19101-0628
                                                ❑ Unliquidated
      City              State      ZIP Code
                                                ❑ Disputed
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ❑ Debtor 1 only                           ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                           ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                         ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                    Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:               $478,632.00
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:


Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 3
                              Case 3:24-bk-01709-BAJ                  Doc 1         Filed 06/17/24               Page 24 of 105
Debtor 1        Justin                Edwin                   Randolph                         Case number (if known)
Debtor 2        Megan                 Diana                   Randolph
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.4 United States HUD                          Describe the property that secures the claim:              $115,276.00             $447,567.00                $0.00
      Creditor’s Name
                                                 Homestead residence
       2488 E. 81st. St. #700
                                                 94894 Windflower Trail Fernandina Beach, FL 32034
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Tulsa, OK 74137
                                                 ❑ Unliquidated
      City              State      ZIP Code
                                                 ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number         0    8   3    5

  2.5 Vystar Credit Union                        Describe the property that secures the claim:                  $2,531.00              $8,000.00               $0.00
      Creditor’s Name
                                                 2016 Toyota Corolla
       P.O. Box 45085
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Jacksonville, FL 32232-5058               ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred       7/1/2019      Last 4 digits of account number         1    0   0    8

      Add the dollar value of your entries in Column A on this page. Write that number here:                $117,807.00
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                            $635,439.00
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 3
                             Case 3:24-bk-01709-BAJ                         Doc 1             Filed 06/17/24           Page 25 of 105
 Fill in this information to identify your case:

  Debtor 1            Justin                  Edwin                   Randolph
                     First Name              Middle Name              Last Name

  Debtor 2            Megan                   Diana                   Randolph
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                 Middle                District of      Florida

  Case number
  (if known)                                                                                                                                  ❑ Check if this is an
                                                                                                                                                   amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes.
      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 Affirm, Inc.                                                       Last 4 digits of account number           I    V    B    9                            $2,510.00
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                   4/1/2020
         Attn: Bankruptcy Attn: Bankruptcy
         650 California St , Fl 12
                                                                         As of the date you file, the claim is: Check all that apply.
         Number              Street
                                                                         ❑ Contingent
         San Francisco, CA 94108-2716
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
         City                      State                   ZIP Code

         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑
                                                                         Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Unsecured
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 32
                         Case 3:24-bk-01709-BAJ                    Doc 1         Filed 06/17/24              Page 26 of 105
Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.2 Affirm, Inc.                                               Last 4 digits of account number        H    E    K     I                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                11/1/2021
       Attn: Bankruptcy Attn: Bankruptcy
       650 California St , Fl 12
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       San Francisco, CA 94108-2716
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Unsecured
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.3 AMAZON CAPITAL SERVICES, INC.                              Last 4 digits of account number                                                 $2,850.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       410 TERRY AVE. N
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Seattle, WA 98109
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                 ❑ Student loans
      ❑ Debtor 2 only
      ✔ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑                                                             priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2 of 32
                         Case 3:24-bk-01709-BAJ                    Doc 1         Filed 06/17/24              Page 27 of 105
Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.4 Capital One                                                Last 4 digits of account number         1    5   1    8                         $4,613.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2010
       1680 Capital One Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Mc Lean, VA 22102
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.5 Capital One                                                Last 4 digits of account number         7    0   2    0                         $1,993.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/15/2015
       1680 Capital One Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Mc Lean, VA 22102
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3 of 32
                         Case 3:24-bk-01709-BAJ                    Doc 1         Filed 06/17/24              Page 28 of 105
Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.6 Capital One                                                Last 4 digits of account number         9    0   3     9                          $633.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 2/24/2016
       1680 Capital One Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Mc Lean, VA 22102
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.7 Capital One                                                Last 4 digits of account number         0    9   1     5                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 4/1/2016
       1680 Capital One Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Mc Lean, VA 22102
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4 of 32
                         Case 3:24-bk-01709-BAJ                    Doc 1         Filed 06/17/24              Page 29 of 105
Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.8 Capital One                                                Last 4 digits of account number         3    4   8    8                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/6/2010
       1680 Capital One Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Mc Lean, VA 22102
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.9 Chase Card Services                                        Last 4 digits of account number         4    4   2    7                         $2,954.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/1/2021
       Attn: Bankruptcy
       P.O. 15298
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Wilmington, DE 19850
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 5 of 32
                         Case 3:24-bk-01709-BAJ                    Doc 1         Filed 06/17/24              Page 30 of 105
Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.10 Citi Card/Best Buy                                         Last 4 digits of account number         6    2   3    6                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/12/2016
       Attn: Citicorp Cr Srvs Centralized Bankruptcy
       PO Box 790040
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       St Louis, MO 36179-0040
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.11 Citibank/The Home Depot                                    Last 4 digits of account number         5    8   0    3                           $865.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/13/2019
       Citicorp Cr Srvs/Centralized Bankruptcy
       PO Box 790040
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       St Louis, MO 63179-0040
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 6 of 32
                         Case 3:24-bk-01709-BAJ                    Doc 1         Filed 06/17/24              Page 31 of 105
Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.12 Coast to Coast Financial                                   Last 4 digits of account number                                                     $92.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       101 Hodencamp Rd Ste 120
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Thousand Oaks, CA 91360
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                 ❑ Student loans
      ❑ Debtor 2 only
      ✔ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑                                                             priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.13 Comcast Xfinity                                            Last 4 digits of account number                                                   $775.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       141 NW 16th Street
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Pompano Beach, FL 33060
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                 ❑ Student loans
      ❑ Debtor 2 only
      ✔ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑                                                             priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.14 Comenity Bank/Bealls Florida                               Last 4 digits of account number         7    9   6     0                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2021
       Attn: Bankruptcy
       PO Box 182125
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Columbus, OH 43218
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.15 Comenity Bank/Maurices                                     Last 4 digits of account number         7    0   4     9                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/4/2015
       Attn: Bankruptcy
       PO Box 182125
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Columbus, OH 43218
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.16 Comenity Bank/Victoria Secret                              Last 4 digits of account number         4    8   1      5                            $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  7/1/2022
       Attn: Bankruptcy
       PO Box 182125
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Columbus, OH 43218
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.17 Comenity Bank/Zales                                        Last 4 digits of account number         2    1   8      7                            $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 12/24/2013
       Attn: Bankruptcy
       PO Box 182125
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Columbus, OH 43218
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.18 Cornerstone                                                Last 4 digits of account number         5    9   0    3                         $5,594.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/1/2017
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501                                         ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.19 Cornerstone                                                Last 4 digits of account number         5    6   0    3                         $5,585.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2018
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501                                         ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.20 Cornerstone                                                Last 4 digits of account number         6    4   0     3                        $4,984.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/1/2016
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501                                         ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.21 Cornerstone                                                Last 4 digits of account number         8    9   0     5                        $4,730.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/1/2014
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501                                         ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.22 Cornerstone                                                Last 4 digits of account number         6    3   0     3                        $4,562.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/1/2016
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501                                         ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.23 Cornerstone                                                Last 4 digits of account number         5    7   0     3                        $3,650.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2018
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501                                         ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.24 Cornerstone                                                Last 4 digits of account number         6    0   0     3                        $1,038.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/1/2017
       Po Box 82561
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lincoln, NE 68501                                         ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.25 Credit Karma/Credit Builder                                Last 4 digits of account number        R     9   7     R                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 8/1/2022
       Attn: Bankruptcy
       1100 Broadway .Ste 1800
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Oakland, CA 94607
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditLineSecured
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.26 Credit One Bank                                            Last 4 digits of account number         4    8   5    4                         $1,882.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       P.O. Box 98872
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Las Vegas, NV 89193
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.27 Credit One Bank                                            Last 4 digits of account number         8    2   6    3                         $1,737.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?            6/17 Last Active 9/15/23
       P.O. Box 98872
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Las Vegas, NV 89193                                       ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.28 Credit One Bank                                            Last 4 digits of account number         0    6   3    2                         $1,356.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?            Opened 07/18 Last Active 11/23
       P.O. Box 98872
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Las Vegas, NV 89193                                       ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.29 Credit One Bank                                            Last 4 digits of account number         0    2   8    5                           $744.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?            Opened 03/18 Last Active09/23
       P.O. Box 98872
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Las Vegas, NV 89193                                       ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.30 Department of Education/Neln                               Last 4 digits of account number         5    9   0    3                         $5,519.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?              Opened 10/02/17 Last Active
       P.O Box 82561
                                                                                                                   8/16/23
      Number             Street

                                                                 As of the date you file, the claim is: Check all that apply.
       Lincoln, NE 68501
      City                    State                   ZIP Code
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Who incurred the debt? Check one.                          ❑ Disputed
      ❑ Debtor 1 only
      ❑ Debtor 2 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ At least one of the debtors and another                  ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ Check if this claim is for a community debt              ❑ Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?
                                                                 ✔ Other. Specify
                                                                 ❑
      ✔ No
      ❑
      ❑ Yes
 4.31 Department of Education/Neln                               Last 4 digits of account number         5    6   0    3                         $5,500.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?              Opened 11/01/18 Last Active
       P.O. Box 82561
                                                                                                                    11/23
      Number             Street

                                                                 As of the date you file, the claim is: Check all that apply.
       Lincoln, NE 68501
      City                    State                   ZIP Code
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Who incurred the debt? Check one.                          ❑ Disputed
      ❑ Debtor 1 only
      ❑ Debtor 2 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ At least one of the debtors and another                  ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ Check if this claim is for a community debt              ❑ Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?
                                                                 ✔ Other. Specify
                                                                 ❑
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.32 Department of Education/Neln                               Last 4 digits of account number         6     4   0   3                         $4,908.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 Opened 9/20/16 Last Active
       P.O. Box 82561
                                                                                                                       11/23
      Number             Street

                                                                 As of the date you file, the claim is: Check all that apply.
       Lincoln, NE 68501
      City                    State                   ZIP Code
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Who incurred the debt? Check one.                          ❑ Disputed
      ❑ Debtor 1 only
      ❑ Debtor 2 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ At least one of the debtors and another                  ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ Check if this claim is for a community debt              ❑ Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?
                                                                 ✔ Other. Specify
                                                                 ❑
      ✔ No
      ❑
      ❑ Yes
 4.33 Department of Education/Neln                               Last 4 digits of account number         8     9   0   5                         $4,663.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 Opened 9/20/14 Last Active
       P.O. Box 82561
                                                                                                                       11/23
      Number             Street

                                                                 As of the date you file, the claim is: Check all that apply.
       Lincoln, NE 68501
      City                    State                   ZIP Code
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Who incurred the debt? Check one.                          ❑ Disputed
      ❑ Debtor 1 only
      ❑ Debtor 2 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ At least one of the debtors and another                  ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ Check if this claim is for a community debt              ❑ Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?
                                                                 ✔ Other. Specify
                                                                 ❑
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.34 Department of Education/Neln                               Last 4 digits of account number         6     3   0   3                         $4,510.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 Opened 9/20/16 Last Active
       P.O. Box 82561
                                                                                                                       11/23
      Number             Street

                                                                 As of the date you file, the claim is: Check all that apply.
       Lincoln, NE 68501
      City                    State                   ZIP Code
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Who incurred the debt? Check one.                          ❑ Disputed
      ❑ Debtor 1 only
      ❑ Debtor 2 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ At least one of the debtors and another                  ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ Check if this claim is for a community debt              ❑ Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?
                                                                 ✔ Other. Specify
                                                                 ❑
      ✔ No
      ❑
      ❑ Yes
 4.35 Department of Education/Neln                               Last 4 digits of account number         5     7   0   3                         $3,576.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?              Opened 11/01/18 Last Active
       P.O Box 82561
                                                                                                                    11/23
      Number             Street

                                                                 As of the date you file, the claim is: Check all that apply.
       Lincoln, NE 68501
      City                    State                   ZIP Code
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Who incurred the debt? Check one.                          ❑ Disputed
      ❑ Debtor 1 only
      ❑ Debtor 2 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ At least one of the debtors and another                  ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ Check if this claim is for a community debt              ❑ Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?
                                                                 ✔ Other. Specify
                                                                 ❑
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.36 Department of Education/Neln                               Last 4 digits of account number         6    0   0    3                         $1,019.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?              Opened 10/02/17 Last Active
       P.O. Box82561
                                                                                                                    11/23
      Number             Street

                                                                 As of the date you file, the claim is: Check all that apply.
       Lincoln, NE 68501
      City                    State                   ZIP Code
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Who incurred the debt? Check one.                          ❑ Disputed
      ❑ Debtor 1 only
      ❑ Debtor 2 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ At least one of the debtors and another                  ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ Check if this claim is for a community debt              ❑ Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?
                                                                 ✔ Other. Specify
                                                                 ❑
      ✔ No
      ❑
      ❑ Yes
 4.37 Discover Financial                                         Last 4 digits of account number         7    5   7    8                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2018
       Attn: Bankruptcy
       PO Box 3025
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       New Albany, OH 43054
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.38 Discover Financial                                         Last 4 digits of account number         5    9   2     6                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2018
       Attn: Bankruptcy
       PO Box 3025
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       New Albany, OH 43054
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.39 First Federal Bank Of                                      Last 4 digits of account number         0    3   1     9                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 3/1/2019
       4705 W Us Highway 90
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Lake City, FL 32055
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify UnknownLoanType
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.40 GM Financial                                               Last 4 digits of account number         2    7   7    7                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       4001 Embarcadero Dr
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Arlington, TX 76014
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.41 Goldman Sachs Bank USA                                     Last 4 digits of account number         8    9   8    3                         $3,972.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/1/2021
       P.O. Box 7247
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Philadelphia, PA 19170-6112
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.42 Kohl's                                                     Last 4 digits of account number         2    7   9     0                        $2,729.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 8/1/2017
       Attn: Credit Administrator
       PO Box 3043
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Milwaukee, WI 53201-3043
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.43 Navy FCU                                                   Last 4 digits of account number         3    6   1     0                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 4/1/2016
       Attn: Bankruptcy
       PO Box 3000
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Merrifield, VA 22119-3000
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Unsecured
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.44 Performance Finance                                        Last 4 digits of account number         3    7   9     2                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/1/2020
       Attn: Bankruptcy Attn: Bankruptcy
       1515 West 22nd Street , Suite 100W
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Oak Brook, IL 60523
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Recreational
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.45 Santander Consumer Usa                                     Last 4 digits of account number         1    0   0     0                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/1/2015
       Attn: Bankruptcy
       PO Box 961211
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
       Fort Worth, TX 76161
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.46 Sezzle                                                     Last 4 digits of account number         3    9   1     4                            $73.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/1/2023
       PO Box 3320
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Minneapolis, MN 55403
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CheckCreditOrLineOfCredit
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.47 Synchrony Bank/Care Credit                                 Last 4 digits of account number         7    3   1     3                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/1/2020
       Attn: Bankruptcy
       PO Box 965060
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Orlando, FL 32896
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.48 Telecom Selfreported                                       Last 4 digits of account number        B     3   0    0                           $534.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       P.O. Box 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Allen, TX 75013
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.49 Telecom Selfreported                                       Last 4 digits of account number         0    7   4    8                           $505.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?            Last Active 9/29/23
       P.O. Box 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Allen, TX 75013                                           ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.50 Telecom Selfreported                                       Last 4 digits of account number        E     7   8    9                           $158.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?            Last Active 9/21/23
       P.O. Box 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Allen, TX 75013                                           ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.51 Telecom Selfreported                                       Last 4 digits of account number        E    C    8    A                             $62.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?            Last Active 5/6/23
       P.O. Box 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Allen, TX 75013                                           ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.52 Telecom Selfreported                                       Last 4 digits of account number        F     1   5    6                             $23.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?            Last Active 9/11/23
       P.O. Box 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Allen, TX 75013                                           ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.53 Telecom Self-reported                                      Last 4 digits of account number         4    8   7    5                           $505.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Po Box 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Allen, TX 75013
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify UnknownLoanType
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 27 of 32
                         Case 3:24-bk-01709-BAJ                    Doc 1         Filed 06/17/24              Page 52 of 105
Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.54 Telecom Self-reported                                      Last 4 digits of account number         8    9   3    0                           $158.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Po Box 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Allen, TX 75013
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify UnknownLoanType
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.55 Telecom Self-reported                                      Last 4 digits of account number         5    6   1    1                             $23.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Po Box 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Allen, TX 75013
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Agriculture
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 28 of 32
                         Case 3:24-bk-01709-BAJ                    Doc 1         Filed 06/17/24              Page 53 of 105
Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.56 Utility Selfreported                                       Last 4 digits of account number         7    7   9    D                           $209.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?            Last Active6/23/23
       P.O Box 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Allen, TX 75013                                           ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.57 Utility Selfreported                                       Last 4 digits of account number        B    F    8    6                           $108.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?            Last Active 9/18/23
       P.O Box 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Allen, TX 75013                                           ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 29 of 32
                         Case 3:24-bk-01709-BAJ                    Doc 1         Filed 06/17/24              Page 54 of 105
Debtor 1        Justin                  Edwin               Randolph                        Case number (if known)
Debtor 2        Megan                   Diana               Randolph
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.58 Utility Self-reported                                      Last 4 digits of account number         8    6   B    2                           $108.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Po Box 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Allen, TX 75013
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Agriculture
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.59 World Omni Financial Corp.                                 Last 4 digits of account number         7    6   7    8                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/1/2014
       PO Box 991817
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Mobile, AL 36691
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Lease
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 30 of 32
                            Case 3:24-bk-01709-BAJ                   Doc 1        Filed 06/17/24            Page 55 of 105
Debtor 1        Justin                Edwin                  Randolph                       Case number (if known)
Debtor 2        Megan                 Diana                  Randolph
               First Name             Middle Name           Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
    agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
    you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 1. Turner Pest Control                                           On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.12 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     8400 Baymeadows Way #12                                                                    ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Jacksonville, FL 32256
    City                         State          ZIP Code




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                        page 31 of 32
                            Case 3:24-bk-01709-BAJ                         Doc 1   Filed 06/17/24             Page 56 of 105
Debtor 1          Justin                 Edwin                  Randolph                     Case number (if known)
Debtor 2          Megan                  Diana                  Randolph
                  First Name            Middle Name            Last Name

      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                          $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                          $0.00

                   6c.   Claims for death or personal injury while you were           6c.                          $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                      $0.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                                  $0.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                     $30,143.00
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                          $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                          $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +                 $61,866.00
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                              $92,009.00




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                     page 32 of 32
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 Fill in this information to identify your case:

     Debtor 1                       Justin               Edwin              Randolph
                                    First Name           Middle Name       Last Name

     Debtor 2                       Megan                Diana              Randolph
     (Spouse, if filing)            First Name           Middle Name       Last Name

     United States Bankruptcy Court for the:                           Middle District of Florida

     Case number                                                                                                                         ❑ Check if this is an
     (if known)                                                                                                                              amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                              State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                               Schedule G: Executory Contracts and Unexpired Leases                                         page 1 of 1
                             Case 3:24-bk-01709-BAJ                      Doc 1            Filed 06/17/24           Page 58 of 105
 Fill in this information to identify your case:

  Debtor 1           Justin                   Edwin                 Randolph
                     First Name              Middle Name            Last Name

  Debtor 2           Megan                    Diana                 Randolph
  (Spouse, if filing) First Name             Middle Name            Last Name

  United States Bankruptcy Court for the:                  Middle           District of       Florida

  Case number
  (if known)                                                                                                                              ❑ Check if this is an
                                                                                                                                              amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                     . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                        ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                         Column 2: The creditor to whom you owe the debt

                                                                                                        Check all schedules that apply:
 3.1
        Name                                                                                            ❑ Schedule D, line
                                                                                                        ❑ Schedule E/F, line
        Number                          Street
                                                                                                        ❑ Schedule G, line
        City                                       State                                   ZIP Code

 3.2
        Name                                                                                            ❑ Schedule D, line
                                                                                                        ❑ Schedule E/F, line
        Number                          Street
                                                                                                        ❑ Schedule G, line
        City                                       State                                   ZIP Code




Official Form 106H                                                    Schedule H: Codebtors                                                            page 1 of 1
                                Case 3:24-bk-01709-BAJ                      Doc 1          Filed 06/17/24                 Page 59 of 105

 Fill in this information to identify your case:

  Debtor 1                  Justin                 Edwin              Randolph
                           First Name              Middle Name       Last Name

  Debtor 2                  Megan                  Diana              Randolph
  (Spouse, if filing)      First Name              Middle Name       Last Name                                                  Check if this is:

                                                                 Middle District of Florida
                                                                                                                                ❑ An amended filing
                                                                                                                                ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                                                                                                                      chapter 13 income as of the following date:
  (if known)

                                                                                                                                   MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                              Debtor 1                                               Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status            ✔ Employed ❑ Not Employed
                                                                          ❑                                                      ✔ Employed ❑ Not Employed
                                                                                                                                 ❑
     attach a separate page with
     information about additional            Occupation                   Operator                                               Manager
     employers.
                                             Employer's name              Jacobs Technology Inc.                                 Merrill Lynch, Pierce, Fenner, &
     Include part time, seasonal, or
     self-employed work.                                                                                                         Smith Inc
                                             Employer's address           600 William Northern Blvd                              One Bryant Park
     Occupation may include student                                        Number Street                                          Number Street
     or homemaker, if it applies.




                                                                          Tullahoma, TN 37388                                    New York, NY 10036
                                                                           City                     State      Zip Code           City                State     Zip Code
                                             How long employed there? 14 years                                                    5 years


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                             non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.            2.               $5,662.80                    $6,951.98

 3. Estimate and list monthly overtime pay.                                                3.   +               $0.00       +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                           4.               $5,662.80                    $6,951.98




Official Form 106I                                                         Schedule I: Your Income                                                                   page 1
                                       Case 3:24-bk-01709-BAJ                                     Doc 1        Filed 06/17/24        Page 60 of 105

 Debtor 1                 Justin                       Edwin                           Randolph
 Debtor 2                 Megan                        Diana                           Randolph                                      Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔    4.          $5,662.80               $6,951.98
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                        5a.           $581.45                 $676.92
       5b. Mandatory contributions for retirement plans                                                         5b.             $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                         5c.           $283.14                 $182.52
       5d. Required repayments of retirement fund loans                                                         5d.           $194.31                 $286.46
       5e. Insurance                                                                                            5e.            $93.43                   $42.34
       5f. Domestic support obligations                                                                         5f.             $0.00                    $0.00
       5g. Union dues                                                                                           5g.            $56.64                    $0.00
       5h. Other deductions. Specify: See additional page                                                       5h. +           $0.00         +        $113.76
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                              6.          $1,208.96               $1,302.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                      7.          $4,453.84               $5,649.98
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                 8a.           $200.00                    $0.00
       8b. Interest and dividends                                                                               8b.             $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                8c.             $0.00                    $0.00
       8d. Unemployment compensation                                                                            8d.             $0.00                    $0.00
       8e. Social Security                                                                                      8e.             $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                            8f.             $0.00                    $0.00
       8g. Pension or retirement income                                                                         8g.             $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                       8h.   +         $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                    9.            $200.00                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                  10.         $4,653.84     +          $5,649.98          =       $10,303.82

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.           $10,303.82
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:
Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
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 Debtor 1            Justin           Edwin                 Randolph
 Debtor 2            Megan            Diana                 Randolph                           Case number (if known)
                     First Name       Middle Name           Last Name




                                                                                                                        Amount


   5h. Other Deductions For Debtor 2 or non-filing spouse
       Purchased Time Off (Regular)                                                                                     $113.76




Official Form 106I                                                Schedule I: Your Income                                 page 3
                                Case 3:24-bk-01709-BAJ               Doc 1       Filed 06/17/24   Page 62 of 105

 Debtor 1              Justin           Edwin                 Randolph
 Debtor 2              Megan            Diana                 Randolph                            Case number (if known)
                       First Name       Middle Name           Last Name


   8a. Attached Statement
                                                              BLT Home Solutions, LLC
   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                             $500.00
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Ordinary and necessary expense                                                                         $300.00
       3.   Net Employee Payroll (Other than debtor)                                                                  $0.00
       4.   Payroll Taxes                                                                                             $0.00
       5.   Unemployment Taxes                                                                                        $0.00
       6.   Worker's Compensation                                                                                     $0.00
       7.   Other Taxes                                                                                               $0.00
       8.   Inventory Purchases (Including raw materials)                                                             $0.00
       9.   Purchase of Feed/Fertilizer/Seed/Spray                                                                    $0.00
       10. Rent (Other than debtor's principal residence)                                                             $0.00
       11. Utilities                                                                                                  $0.00
       12. Office Expenses and Supplies                                                                               $0.00
       13. Repairs and Maintenance                                                                                    $0.00
       14. Vehicle Expenses                                                                                           $0.00
       15. Travel and Entertainment                                                                                   $0.00
       16. Equipment Rental and Leases                                                                                $0.00
       17. Legal/Accounting/Other Professional Fees                                                                   $0.00
       18. Insurance                                                                                                  $0.00
       19. Employee Benefits (e.g., pension, medical, etc.)                                                           $0.00
       20. Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
           Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                       $0.00

       21. Other Expenses
            TOTAL OTHER EXPENSES                                                                                      $0.00
                                                                                                                              $300.00
       22. TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       23. AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                           $200.00




Official Form 106I                                                  Schedule I: Your Income                                      page 4
                                  Case 3:24-bk-01709-BAJ                        Doc 1        Filed 06/17/24           Page 63 of 105

 Fill in this information to identify your case:

  Debtor 1                  Justin                  Edwin                Randolph
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2                  Megan                   Diana                Randolph
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Middle District of Florida
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑ No. Go to line 2.
     ✔ Yes. Does Debtor 2 live in a separate household?
     ❑
             ❑ No
             ✔ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
             ❑
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               4                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               11                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               9                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                      4.                $1,000.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                      4a.                     $0.00
     4b. Property, homeowner's, or renter's insurance                                                                           4b.                     $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                          4c.                     $0.00
     4d. Homeowner's association or condominium dues                                                                            4d.                     $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
                                Case 3:24-bk-01709-BAJ                      Doc 1    Filed 06/17/24      Page 64 of 105

 Debtor 1            Justin                 Edwin                Randolph
 Debtor 2            Megan                  Diana                Randolph                                    Case number (if known)
                     First Name             Middle Name          Last Name


                                                                                                                             Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                       $0.00
       6b. Water, sewer, garbage collection                                                                        6b.                       $0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                       $0.00

       6d. Other. Specify:                                                                                         6d.                       $0.00
 7.    Food and housekeeping supplies                                                                              7.                  $300.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                  $100.00

 10. Personal care products and services                                                                           10.                  $75.00

 11.   Medical and dental expenses                                                                                 11.                  $75.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                 $300.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                       $0.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                         15a.                      $0.00
       15b. Health insurance                                                                                       15b.                      $0.00
       15c. Vehicle insurance                                                                                      15c.                $465.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1 2016 Toyota Corolla                                                         17a.                      $0.00
       17b. Car payments for Vehicle 2 2021 Chevrolet Silverado 1500                                               17b.                $850.00
       17c. Other. Specify: See Additional Page                                                                    17c.                $520.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00




Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
                              Case 3:24-bk-01709-BAJ                    Doc 1       Filed 06/17/24          Page 65 of 105

 Debtor 1            Justin              Edwin                 Randolph
 Debtor 2            Megan               Diana                 Randolph                                     Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify: See Additional Page                                                                          21.    +             $320.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                $4,005.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                $6,944.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $10,949.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $10,303.82

      23b. Copy your monthly expenses from line 22c above.                                                        23b.       –       $10,949.00
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                23c.                ($645.18)



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
                              Case 3:24-bk-01709-BAJ                    Doc 1    Filed 06/17/24     Page 66 of 105

 Debtor 1            Justin              Edwin                  Randolph
 Debtor 2            Megan               Diana                  Randolph                            Case number (if known)
                     First Name          Middle Name            Last Name




                                                                                                                             Amount


   6c. Telephone, cell phone, Internet, satellite, and cable services
       Cell phone                                                                                                              $0.00
       Internet                                                                                                                $0.00

   17c. Other Installment Payments
       Harley Davidson                                                                                                       $520.00
       Alarm Monitoring                                                                                                        $0.00
       Ring                                                                                                                    $0.00

   21. Other
       Braces for dependent child                                                                                            $262.00
       Biz Insurance                                                                                                          $58.00




Official Form 106J                                                      Schedule J: Your Expenses                                page 4
                                  Case 3:24-bk-01709-BAJ                        Doc 1        Filed 06/17/24           Page 67 of 105
 Fill in this information to identify your case:

  Debtor 1                  Justin                  Edwin                Randolph
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2                  Megan                   Diana                Randolph
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Middle District of Florida
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2                                                                                                          12/15
Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and Debtor 2 have one
or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form only with respect to expenses for
Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is needed, attach another sheet to this form. On the top
of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑ No. Do not complete this form.
     ✔ Yes
     ❑
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 but list all         ❑ Yes. Fill out this information         Dependent's relationship to           Dependent's       Does dependent live
     other dependents of Debtor 2                                                       Debtor 2:                             age               with you?
                                                    for each dependent...............
     regardless of whether listed as a
     dependent of Debtor 1 on                                                                                                                   ❑ No. ❑ Yes.
     Schedule J.
                                                                                                                                                ❑ No. ❑ Yes.
     Only list dependents
                                                                                                                                                ❑ No. ❑ Yes.
     Do not state the dependents'
     names.                                                                                                                                     ❑ No. ❑ Yes.
                                                                                                                                                ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself, your dependents, and
                                                   ❑ Yes
    Debtor 1?


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                   $2,821.00

     If not included in line 4:
                                                                                                                              4a.                          $0.00
     4a. Real estate taxes
                                                                                                                              4b.
     4b. Property, homeowner's, or renter's insurance                                                                                                      $0.00
                                                                                                                              4c.
     4c. Home maintenance, repair, and upkeep expenses                                                                                               $200.00
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                   $10.00




Official Form 106J-2                                           Schedule J-2: Expenses for Separate Household of Debtor 2                                           page 1
                                Case 3:24-bk-01709-BAJ                      Doc 1      Filed 06/17/24       Page 68 of 105
Debtor 1              Justin                Edwin                 Randolph
Debtor 2              Megan                 Diana                 Randolph                                  Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                            Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                 5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                         6a.                  $566.00

       6b. Water, sewer, garbage collection                                                                       6b.                       $0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.
                                                                                                                                       $350.00
       6d. Other. Specify:                                                                                        6d.
                                                                                                                                            $0.00

 7.    Food and housekeeping supplies                                                                             7.                 $1,200.00

 8.    Childcare and children’s education costs                                                                   8.                   $825.00

 9.    Clothing, laundry, and dry cleaning                                                                        9.                   $100.00

 10. Personal care products and services                                                                          10.                   $75.00

 11.   Medical and dental expenses                                                                                11.                  $200.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                 12.                  $300.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.                       $0.00

 14. Charitable contributions and religious donations                                                             14.                       $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance
                                                                                                                  15a.                      $0.00
                                                                                                                  15b.                      $0.00
       15b. Health insurance
                                                                                                                  15c.
       15c. Vehicle insurance                                                                                                               $0.00
                                                                                                                  15d.
       15d. Other insurance. Specify:                                                                                                       $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                   16.                       $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                            17a.                 $282.00

       17b. Car payments for Vehicle 2                                                                            17b.

       17c. Other. Specify:                    Alarm                                                              17c.
                                                                                                                                        $15.00
                                                                                                                  17d.
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.                       $0.00

 19. Other payments you make to support others who do not live with you
       Specify:                                                                                                   19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income

       20a. Mortgages on other property                                                                           20a.                      $0.00
       20b. Real estate taxes                                                                                     20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                          20c.
                                                                                                                                            $0.00
Official20d.
         FormMaintenance,
              106J-2      repair, and upkeep expenses Schedule J-2: Expenses for Separate Household of Debtor20d.
                                                                                                              2                                     page 2
                                                                                                                                            $0.00
       20e. Homeowner’s association or condominium dues                                                           20e.
                                                                                                                                           $0.00
                                Case 3:24-bk-01709-BAJ                  Doc 1        Filed 06/17/24           Page 69 of 105
 Debtor 1              Justin            Edwin                  Randolph
 Debtor 2              Megan             Diana                  Randolph                                       Case number (if known)
                       First Name        Middle Name            Last Name



 21. Other. Specify:                                                                                                  21.    +              $0.00

 22. Your monthly expenses. Add lines 4 through 21.
      The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the                        $6,944.00
      total expenses for Debtor 1 and Debtor 2.
                                                                                                                      22.


 23. Line not used on this form.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑           None
      ❑ Yes.




Official Form 106J-2                                    Schedule J-2: Expenses for Separate Household of Debtor 2                                   page 3
                                      Case 3:24-bk-01709-BAJ                                 Doc 1            Filed 06/17/24                    Page 70 of 105

 Fill in this information to identify your case:

  Debtor 1                      Justin                      Edwin                    Randolph
                               First Name                  Middle Name              Last Name

  Debtor 2                      Megan                       Diana                    Randolph
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                    Middle District of Florida

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                    $447,567.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                         $141,381.00

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                    $588,948.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                            $635,439.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                          $0.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +            $92,009.00

                                                                                                                                                  Your total liabilities                  $727,448.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                  $10,303.82


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                $10,949.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
                              Case 3:24-bk-01709-BAJ                     Doc 1        Filed 06/17/24              Page 71 of 105

Debtor 1            Justin                Edwin                  Randolph
Debtor 2            Megan                 Diana                  Randolph                                          Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                     $13,735.54




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                              $0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                     $0.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                           $0.00


    9d. Student loans. (Copy line 6f.)                                                                                        $30,143.00


    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                           $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                     $0.00


    9g. Total. Add lines 9a through 9f.                                                                                    $30,143.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
                                Case 3:24-bk-01709-BAJ                      Doc 1      Filed 06/17/24            Page 72 of 105

 Fill in this information to identify your case:

  Debtor 1                  Justin                 Edwin              Randolph
                            First Name             Middle Name       Last Name

  Debtor 2                  Megan                  Diana              Randolph
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Middle District of Florida

  Case number                                                                                                                       ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                        Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Justin Edwin Randolph                                          ✘ /s/ Megan Diana Randolph
        Justin Edwin Randolph, Debtor 1                                     Megan Diana Randolph, Debtor 2


        Date 06/12/2024                                                     Date 06/12/2024
                 MM/ DD/ YYYY                                                     MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                                Case 3:24-bk-01709-BAJ                      Doc 1       Filed 06/17/24           Page 73 of 105

 Fill in this information to identify your case:

  Debtor 1                  Justin                 Edwin              Randolph
                           First Name              Middle Name       Last Name

  Debtor 2                  Megan                  Diana              Randolph
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Middle District of Florida

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                             State ZIP Code                                   City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                             State ZIP Code                                   City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
                                  Case 3:24-bk-01709-BAJ                  Doc 1      Filed 06/17/24           Page 74 of 105

Debtor 1            Justin             Edwin                  Randolph
Debtor 2            Megan              Diana                  Randolph                                       Case number (if known)
                    First Name         Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross Income                Sources of income           Gross Income
                                                 Check all that apply.      (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                                ✔ Wages, commissions,
                                                ❑                                                      ✔ Wages, commissions,
                                                                                                       ❑
    From January 1 of current year until the
                                                     bonuses, tips                  $27,325.81             bonuses, tips                    $26,806.78
    date you filed for bankruptcy:
                                                ✔ Operating a business
                                                ❑                                     $3,635.00        ❑ Operating a business

    For last calendar year:                     ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                     bonuses, tips                149766 - joint           bonuses, tips
    (January 1 to December 31, 2023         )
                                     YYYY       ❑ Operating a business                                 ❑ Operating a business

    For the calendar year before that:          ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                     bonuses, tips           148122.00 - joint             bonuses, tips
    (January 1 to December 31, 2022         )
                                     YYYY       ✔ Operating a business
                                                ❑                                   $13,255.00         ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross income from           Sources of income           Gross Income from
                                                 Describe below.            each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:


    For last calendar year:
    (January 1 to December 31, 2023         )
                                     YYYY



    For the calendar year before that:                                                                  Dependent Care                        $5,000.00
    (January 1 to December 31, 2022         )                                                           Benefits
                                     YYYY




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
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Debtor 1             Justin                       Edwin                Randolph
Debtor 2             Megan                        Diana                Randolph                                       Case number (if known)
                     First Name                   Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ✔ No. Go to line 7.
              ❑
              ❑ Yes.        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                  Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                  payment

                                                                                                                                         ❑ Mortgage
             Creditor's Name
                                                                                                                                         ❑ Car
                                                                                                                                         ❑ Credit card
                                                                                                                                         ❑ Loan repayment
             Number       Street


                                                                                                                                         ❑ Suppliers or vendors
             City                         State      ZIP Code
                                                                                                                                         ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of           Total amount paid   Amount you still          Reason for this payment
                                                                payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1             Justin                Edwin                  Randolph
Debtor 2             Megan                 Diana                  Randolph                                        Case number (if known)
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                     Nature of the case                      Court or agency                                  Status of the case


    Case title                                                                                                                              ❑ Pending
                                                                                            Court Name                                      ❑ On appeal
                                                                                                                                            ❑ Concluded
                                                                                            Number       Street
    Case number

                                                                                            City                      State      ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ❑ No. Go to line 11.
    ✔ Yes. Fill in the information below.
    ❑




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Debtor 1            Justin                 Edwin                   Randolph
Debtor 2            Megan                  Diana                   Randolph                                       Case number (if known)
                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date               Value of the property
                                                                    2021 Chevy Traverse
    GM Financial                                                                                                         10/2023
    Creditor’s Name

    4001 Embarcadero Dr
    Number     Street                                               Explain what happened

                                                                   ✔ Property was repossessed.
                                                                   ❑
                                                                   ❑ Property was foreclosed.
    Arlington, TX 76014                                            ❑ Property was garnished.
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




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Debtor 1             Justin                 Edwin                 Randolph
Debtor 2             Megan                  Diana                 Randolph                                       Case number (if known)
                     First Name             Middle Name           Last Name

     Gifts with a total value of more than $600           Describe the gifts                                         Dates you gave       Value
     per person                                                                                                      the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities            Describe what you contributed                               Date you              Value
     that total more than $600                                                                                  contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                            Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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Debtor 1            Justin               Edwin                 Randolph
Debtor 2            Megan                Diana                 Randolph                                       Case number (if known)
                    First Name           Middle Name            Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Description and value of any property transferred           Date payment or       Amount of payment
    Law Offices of Mickler &                                                                                 transfer was made
    Mickler, LLP                               Attorney's Fee; credit reports; counseling; court
    Person Who Was Paid                        costs                                                         05/31/2024                      $77.00
    5452 Arlington Expy.                                                                                     05/31/2024                      $90.00
    Number     Street
                                                                                                             05/31/2024                      $15.00

                                                                                                             05/31/2024                     $313.00
    Jacksonville, FL 32211
    City                   State    ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You
                                                 Description and value of any property transferred           Date payment or       Amount of payment
    Sacks and Sacks - former                                                                                 transfer was made
    attorneys                                  prior attorney's fees and costs
    Person Who Was Paid                                                                                      12/2023                      $2,500.00

    Number     Street




    City                   State    ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
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Debtor 1            Justin               Edwin                  Randolph
Debtor 2            Megan                Diana                  Randolph                                      Case number (if known)
                    First Name           Middle Name            Last Name

                                                 Description and value of any property transferred           Date payment or       Amount of payment
                                                                                                             transfer was made
    Person Who Was Paid



    Number     Street




    City                   State    ZIP Code



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Description and value of property        Describe any property or payments            Date transfer was
                                                 transferred                              received or debts paid in exchange           made

    Person Who Received Transfer



    Number     Street




    City                   State    ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Description and value of the property transferred                                     Date transfer was
                                                                                                                                       made


    Name of trust




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Debtor 1            Justin               Edwin                 Randolph
Debtor 2            Megan                Diana                 Randolph                                      Case number (if known)
                    First Name           Middle Name           Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Last 4 digits of account number        Type of account or     Date account was          Last balance
                                                                                        instrument             closed, sold, moved, or   before closing or
                                                                                                               transferred               transfer

    Name of Financial Institution
                                                 XXXX–                              ❑ Checking
                                                                                    ❑ Savings
    Number      Street
                                                                                    ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else had access to it?                  Describe the contents                       Do you still have
                                                                                                                                          it?

                                                                                                                                         ❑ No
    Name of Financial Institution                Name
                                                                                                                                         ❑ Yes

    Number      Street                           Number    Street



                                                 City                State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 9
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Debtor 1            Justin              Edwin                 Randolph
Debtor 2            Megan               Diana                 Randolph                                         Case number (if known)
                    First Name          Middle Name            Last Name

                                                 Who else has or had access to it?            Describe the contents                          Do you still have
                                                                                                                                             it?

                                                                                                                                           ❑ No
    Name of Storage Facility                    Name
                                                                                                                                           ❑ Yes

    Number     Street                           Number    Street



                                                City                 State   ZIP Code

    City                   State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Where is the property?                       Describe the property                          Value
                                                                                              Roommate owns furniture in home
    Justin's Roommate
    Owner's Name
                                                Number    Street


    Number     Street


                                                City                 State   ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1            Justin              Edwin                   Randolph
Debtor 2            Megan               Diana                   Randolph                                      Case number (if known)
                    First Name          Middle Name             Last Name

                                                Governmental unit                       Environmental law, if you know it              Date of notice



    Name of site                              Governmental unit



    Number       Street                       Number       Street



                                              City                  State   ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Governmental unit                       Environmental law, if you know it              Date of notice



    Name of site                              Governmental unit



    Number       Street                       Number       Street



                                              City                  State   ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Court or agency                         Nature of the case                             Status of the case



    Case title                                                                                                                         ❑ Pending
                                                                                                                                       ❑ On appeal
                                              Court Name


                                                                                                                                       ❑ Concluded
                                              Number       Street


    Case number
                                              City                  State   ZIP Code




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 11
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Debtor 1            Justin                Edwin                     Randolph
Debtor 2            Megan                 Diana                     Randolph                                         Case number (if known)
                    First Name            Middle Name               Last Name
 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
     BLT Home Solutions, LLC                                                                                 Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:    8    8 – 1   1   9      0   4   1   5


                                                    Name of accountant or bookkeeper                         Dates business existed
     94894 Windflower trail
    Number        Street
                                                                                                              From 02/28/2022 To
     Fernandina Beach, FL 32034
    City                    State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                    Date issued



    Name                                           MM / DD / YYYY



    Number        Street




    City                    State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 12
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 Debtor 1           Justin              Edwin                 Randolph
 Debtor 2           Megan               Diana                 Randolph                                      Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Justin Edwin Randolph                                    ✘ /s/ Megan Diana Randolph
        Signature of Justin Edwin Randolph, Debtor 1                   Signature of Megan Diana Randolph, Debtor 2


        Date 06/12/2024                                                Date 06/12/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 13
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                   Middle District of Florida

In re        Randolph, Justin Edwin

             Randolph, Megan Diana                                                                                         Case No.

Debtor                                                                                                                     Chapter                      13


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $5,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                           $77.00

        Balance Due ................................................................................................................................................      $4,923.00

2.                 $313.00                  of the filing fee has been paid.

3.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
5.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

7.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
                       Case 3:24-bk-01709-BAJ                Doc 1        Filed 06/17/24         Page 87 of 105


B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        06/12/2024                                             /s/ Bryan K. Mickler
                Date                                         Bryan K. Mickler
                                                             Signature of Attorney
                                                                                               Bar Number: 091790
                                                                               Law Offices of Mickler & Mickler, LLP
                                                                                               5452 Arlington Expy.
                                                                                             Jacksonville, FL 32211
                                                                                            Phone: (904) 725-0822

                                                                   Law Offices of Mickler & Mickler, LLP
                                                            Name of law firm




                                                                 Page 2 of 2
                                Case 3:24-bk-01709-BAJ                        Doc 1       Filed 06/17/24              Page 88 of 105
 Fill in this information to identify your case:                                                                           Check as directed in lines 17 and 21:
                                                                                                                           According to the calculations required by this
  Debtor 1                  Justin                 Edwin                Randolph                                           Statement:
                           First Name              Middle Name          Last Name
                                                                                                                           ❑ 1. Disposable income is not determined
  Debtor 2                  Megan                  Diana                Randolph                                              under 11 U.S.C. § 1325(b)(3).
  (Spouse, if filing)      First Name              Middle Name          Last Name
                                                                                                                           ✔ 2. Disposable income is determined
                                                                                                                           ❑
                                                                                                                              under 11 U.S.C. § 1325(b)(3).
                                                                 Middle District of Florida
                                                                                                                           ❑ 3. The commitment period is 3 years.
  United States Bankruptcy Court for the:

  Case number                                                                                                              ✔ 4. The commitment period is 5 years.
                                                                                                                           ❑
  (if known)

                                                                                                                           ❑ Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                 10/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known).


 Part 1: Calculate Your Average Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ✔ Married. Fill out both Columns A and B, lines 2-11.
     ❑
  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                                Column A              Column B
                                                                                                                Debtor 1              Debtor 2 or
                                                                                                                                      non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                  $6,578.70                  $6,898.34
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                                               $0.00                    $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you listed
    on line 3.                                                                                                             $0.00                    $0.00

 5. Net income from operating a business, profession, or
    farm                                                                 Debtor 1         Debtor 2

     Gross receipts (before all deductions)                                 $891.67            $0.00

     Ordinary and necessary operating expenses                      -       $633.17   -        $0.00


     Net monthly income from a business, profession, or farm                $258.50           $0.00    Copy
                                                                                                       here →         $258.50                       $0.00

 6. Net income from rental and other real property                       Debtor 1         Debtor 2

     Gross receipts (before all deductions)                                   $0.00            $0.00

     Ordinary and necessary operating expenses                      -         $0.00   -        $0.00


     Net monthly income from rental or other real property                    $0.00           $0.00    Copy
                                                                                                       here →              $0.00                    $0.00



 Official Form 122C-1                     Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                   page 1
                                         Case 3:24-bk-01709-BAJ                                           Doc 1       Filed 06/17/24       Page 89 of 105
Debtor 1                   Justin                         Edwin                               Randolph
Debtor 2                   Megan                          Diana                               Randolph                                     Case number (if known)
                           First Name                      Middle Name                        Last Name
                                                                                                                               Column A               Column B
                                                                                                                               Debtor 1               Debtor 2 or
                                                                                                                                                      non-filing spouse
 7. Interest, dividends, and royalties                                                                                                     $0.00                    $0.00
 8. Unemployment compensation                                                                                                              $0.00                    $0.00
    Do not enter the amount if you contend that the amount received was a benefit under
    the Social Security Act. Instead, list it here: ..................................................            ↓
           For you....................................................................................                 $0.00
           For your spouse......................................................................                       $0.00
 9. Pension or retirement income. Do not include any amount received that was a benefit                                                    $0.00                    $0.00
    under the Social Security Act. Also, except as stated in the next sentence, do not
    include any compensation, pension, pay, annuity, or allowance paid by the United
    States Government in connection with a disability, combat-related injury or disability, or
    death of a member of the uniformed services. If you received any retired pay paid
    under chapter 61 of title 10, then include that pay only to the extent that it does not
    exceed the amount of retired pay to which you would otherwise be entitled if retired
    under any provision of title 10 other than chapter 61 of that title.

 10. Income from all other sources not listed above. Specify the source and amount. Do
     not include any benefits received under the Social Security Act; payments received as
     a victim of a war crime, a crime against humanity, or international or domestic
     terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.




    Total amounts from separate pages, if any.                                                                                 +                       +

 11. Calculate your total average monthly income. Add lines 2 through 10 for each                                                   $6,837.20          +      $6,898.34       = $13,735.54
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                               Total average
                                                                                                                                                                              monthly income

Part 2: Determine How to Measure Your Deductions from Income

 12. Copy your total average monthly income from line 11. .................................................................................                                      $13,735.54
 13. Calculate the marital adjustment. Check one:

   ❑ You are not married. Fill in 0 below.
   ✔ You are married and your spouse is filing with you. Fill in 0 below.
   ❑
   ❑ You are married and your spouse is not filing with you.
       Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or
       your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your
       dependents.
       Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list
       additional adjustments on a separate page.
       If this adjustment does not apply, enter 0 below.




                                                                                                                          +

       Total...........................................................................................                            $0.00      Copy here. →                -          $0.00

 14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                   $13,735.54




Official Form 122C-1                                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                       page 2
                                         Case 3:24-bk-01709-BAJ                                        Doc 1              Filed 06/17/24                        Page 90 of 105
Debtor 1                  Justin                         Edwin                              Randolph
Debtor 2                  Megan                          Diana                              Randolph                                                            Case number (if known)
                          First Name                      Middle Name                       Last Name

 15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here →...............................................................................................................................................................              $13,735.54
              Multiply line 15a by 12 (the number of months in a year).                                                                                                                                   x 12
       15b. The result is your current monthly income for the year for this part of the form.....................................................................                                         $164,826.48

 16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                                                                       Florida
       16b. Fill in the number of people in your household.                                                                 5

       16c. Fill in the median family income for your state and size of household. ....................................................................................                                   $113,969.00
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

 17. How do the lines compare?

       17a.     ❑ Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11
                       U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).
            ✔ Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
       17b. ❑
                       1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2). On line 39 of that form, copy your
                       current monthly income from line 14 above.
Part 3: Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

 18. Copy your total average monthly income from line 11. ..........................................................................................................
                                                                                                                                                                                                            $13,735.54
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy the
     amount from line 13.
   19a. If the marital adjustment does not apply, fill in 0 on line 19a. .....................................................................................................                        -          $0.00
   19b. Subtract line 19a from line 18.                                                                                                                                                                     $13,735.54
 20. Calculate your current monthly income for the year. Follow these steps.

   20a. Copy line 19b.............................................................................................................................................................................          $13,735.54
           Multiply by 12 (the number of months in a year).                                                                                                                                          x 12
   20b. The result is your current monthly income for the year for this part of the form.                                                                                                                 $164,826.48

   20c. Copy the median family income for your state and size of household from line 16c. ...............................................................                                                 $113,969.00

 21. How do the lines compare?
   ❑ Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
         The commitment period is 3 years. Go to Part 4.
   ✔ Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
   ❑
         check box 4, The commitment period is 5 years. Go to Part 4.

Part 4: Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


         ✘ /s/ Justin Edwin Randolph                                                                                        ✘ /s/ Megan Diana Randolph
               Signature of Debtor 1                                                                                              Signature of Debtor 2

               Date 06/12/2024                                                                                                    Date 06/12/2024
                         MM/ DD/ YYYY                                                                                                       MM/ DD/ YYYY

    If you checked 17a, do NOT fill out or file Form 122C–2.
    If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

Official Form 122C-1                                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                  page 3
                               Case 3:24-bk-01709-BAJ                      Doc 1      Filed 06/17/24         Page 91 of 105
Fill in this information to identify your case:

 Debtor 1                  Justin                 Edwin              Randolph
                          First Name              Middle Name       Last Name

 Debtor 2                  Megan                  Diana              Randolph
 (Spouse, if filing)      First Name              Middle Name       Last Name

 United States Bankruptcy Court for the:                        Middle District of Florida

 Case number                                                                                                                   ❑ Check if this is an
 (if known)                                                                                                                          amended filing


Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                           04/22
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
(Official Form 122C–1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write
your name and case number (if known).



Part 1: Calculate Your Deductions from Your Income


 The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the questions in
 lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This information may also be available
 at the bankruptcy clerk’s office.


 Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual expenses if
 they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form 122C–1, and do not
 deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.



 If your expenses differ from month to month, enter the average expense.



 Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




  5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the
                                                                                                                                 5
       number of any additional dependents whom you support. This number may be different from the number of
       people in your household.




     National
     Standards             You must use the IRS National Standards to answer the questions in lines 6-7.




  6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National                                           $2,413.00
     Standards, fill in the dollar amount for food, clothing, and other items.


  7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in the
     dollar amount for out-of-pocket health care. The number of people is split into two categories─people who are under 65 and people
     who are 65 or older─because older people have a higher IRS allowance for health care costs. If your actual expenses are higher
     than this IRS amount, you may deduct the additional amount on line 22.




Official Form 122C-2                                      Chapter 13 Calculation of Your Disposable Income                                                 page 1
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Debtor 1                   Justin                        Edwin                            Randolph
Debtor 2                   Megan                         Diana                            Randolph                                                         Case number (if known)
                           First Name                    Middle Name                      Last Name



           People who are under 65 years of age

           7a. Out-of-pocket health care allowance per person                                                  $83.00
           7b. Number of people who are under 65                                                       X         5
                                                                                                                                                 Copy
           7c. Subtotal. Multiply line 7a by line 7b.                                                        $415.00                             here →            $415.00

           People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person                                               $158.00
           7e. Number of people who are 65 or older                                                    X         0
                                                                                                                                                 Copy         +           $0.00
           7f.    Subtotal. Multiply line 7d by line 7e.                                                         $0.00                           here →

     7g.     Total. Add lines 7c and 7f. ...............................................................................................................            $415.00 Copy here →....     $415.00

     Local
     Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.

Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:

     Housing and utilities – Insurance and operating expenses
     Housing and utilities – Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

8.     Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in                                                                      $771.00
       the dollar amount listed for your county for insurance and operating expenses.
9.     Housing and utilities – Mortgage or rent expenses:
           9a. Using the number of people you entered in line 5, fill in the dollar amount                                                                 $1,748.00
               listed for your county for mortgage or rent expenses.
           9b. Total average monthly payment for all mortgages and other debts secured by
               your home.

                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file for
                 bankruptcy. Next divide by 60.

                  Name of the creditor                                                          Average monthly
                                                                                                payment

                 LoanCare Mortgage                                                                         $2,821.00
                 United States HUD                                                                                $0.00
                                                                                                   +
                                                                                                                                   Copy                          Repeat this amount
                           9b. Total average monthly payment                                               $2,821.00                                 – $2,821.00 on line 33a.
                                                                                                                                   here →

       9c. Net mortgage or rent expense.
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent expense). If
           this number is less than $0, enter $0.                                                                                                                 $0.00     Copy here →.....      $0.00

10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                                       $1,000.00
    the calculation of your monthly expenses, fill in any additional amount you claim.
             Explain Rent for Husband due to Separation
             why:




Official Form 122C-2                                                          Chapter 13 Calculation of Your Disposable Income                                                                    page 2
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Debtor 1               Justin                Edwin                     Randolph
Debtor 2               Megan                 Diana                     Randolph                                          Case number (if known)
                       First Name            Middle Name               Last Name



 11.   Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
       ❑ 0. Go to line 14.
       ❑ 1. Go to line 12.
       ✔ 2 or more. Go to line 12.
       ❑
 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating                         $520.00
     expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.
 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each
     vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may
     not claim the expense for more than two vehicles.

           Vehicle 1                               2016 Toyota Corolla
                          Describe Vehicle 1:


       13a. Ownership or leasing costs using IRS Local Standard.......................................                  $619.00
       13b. Average monthly payment for all debts secured by Vehicle 1.
             Do not include costs for leased vehicles.
             To calculate the average monthly payment here and on line 13e, add all
             amounts that are contractually due to each secured creditor in the 60
             months after you file for bankruptcy. Then divide by 60.
             Name of each creditor for Vehicle 1                         Average monthly
                                                                         payment
             Vystar Credit Union                                                      $46.61
                                                                         +                                         –      $46.61
                                                                                       $46.61            Copy       Repeat this amount
                                    Total average monthly payment                                        here →     on line 33b.
       13c. Net Vehicle 1 ownership or lease expense
                                                                                                                       $572.39
             Subtract line 13b from line 13a. If this number is less than $0, enter $0.............
                                                                                                                  Copy net Vehicle 1
                                                                                                                  expense here →                  $572.39

           Vehicle 2                               2021 Chevrolet Silverado 1500
                          Describe Vehicle 2:

       13d. Ownership or leasing costs using IRS Local Standard.......................................            $619.00
       13e. Average monthly payment for all debts secured by Vehicle 2.
             Do not include costs for leased vehicles.
             Name of each creditor for Vehicle 2                         Average monthly
                                                                         payment
             GM Financial                                                            $563.55
                                                                         +                                         –     $563.55
                                                                                     $563.55             Copy       Repeat this amount
                                    Total average monthly payment                                        here →     on line 33c.
       13f. Net Vehicle 2 ownership or lease expense
                                                                                                                        $55.45
             Subtract line 13e from 13d. If this number is less than $0, enter $0.............
                                                                                                                  Copy net Vehicle 2
                                                                                                                  expense here →                   $55.45

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
     Transportation expense allowance regardless of whether you use public transportation.

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also deduct a
     public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim more than the                $0.00
     IRS Local Standard for Public Transportation.




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                             Case 3:24-bk-01709-BAJ                     Doc 1            Filed 06/17/24                       Page 94 of 105
Debtor 1           Justin               Edwin                   Randolph
Debtor 2           Megan                Diana                   Randolph                                                       Case number (if known)
                   First Name           Middle Name             Last Name



  Other Necessary            In addition to the expense deductions listed above, you are allowed your monthly expenses for the
  Expenses                   following IRS categories.

16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-employment taxes,                                $1,299.74
    social security taxes, and Medicare taxes. You may include the monthly amount withheld from your pay for these taxes. However, if
    you expect to receive a tax refund, you must divide the expected refund by 12 and subtract that number from the total monthly amount
    that is withheld to pay for taxes.
    Do not include real estate, sales, or use taxes.

17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions, union dues, and                                  $87.78
    uniform costs.
    Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing together,                                    $31.37
    include payments that you make for your spouse’s term life insurance.
    Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance
    other than term.

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative agency, such as                                      $0.00
    spousal or child support payments.
    Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

20. Education: The total monthly amount that you pay for education that is either required:                                                                                  $0.00
      as a condition for your job, or
      for your physically or mentally challenged dependent child if no public education is available for similar services.

21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                                  $825.00
    Do not include payments for any elementary or secondary school education.

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is required for the                                     $0.00
    health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health savings account. Include
    only the amount that is more than the total entered in line 7.
    Payments for health insurance or health savings accounts should be listed only in line 25.

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for you and your                                 +      $200.00
    dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone service, to the extent
    necessary for your health and welfare or that of your dependents or for the production of income, if it is not reimbursed by your
    employer.
    Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment expenses, such as
    those reported on line 5 of Form 122C-1, or any amount you previously deducted.

24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                     $8,190.73
    Add lines 6 through 23.

  Additional Expense         These are additional deductions allowed by the Means Test.
  Deductions                 Note: Do not include any expense allowances listed in lines 6-24.

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health insurance, disability
    insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your dependents.

      Health insurance                                       $1.83
      Disability insurance                                  $37.10
      Health savings account                       +         $0.00
      Total                                                 $38.93       Copy total here → ........................................................................         $38.93
     Do you actually spend this total amount?

     ❑ No. How much do you actually spend?
     ✔ Yes
     ❑
26. Continuing contributions to the care of household or family members.                                                                                                     $0.00
    The actual monthly expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
    ill, or disabled member of your household or member of your immediate family who is unable to pay for such expenses. These
    expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of you and your                                      $0.00
    family under the Family Violence Prevention and Services Act or other federal laws that apply.
    By law, the court must keep the nature of these expenses confidential.




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Debtor 1               Justin                       Edwin                           Randolph
Debtor 2               Megan                        Diana                           Randolph                                                   Case number (if known)
                       First Name                   Middle Name                     Last Name



28.   Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8, then fill in
      the excess amount of home energy costs                                                                                                                                     $0.00
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount claimed is
      reasonable and necessary.

29.   Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $189.58* per child)                                                 $0.00
      that you pay for your dependent children who are younger than 18 years old to attend a private or public elementary or secondary
      school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
      * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.

30.   Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher than the                                               $0.00
      combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the food and clothing
      allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for this form.
      This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.

31.   Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial instruments to a +                                   $0.00
      religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).
      Do not include any amount more than 15% of your gross monthly income.

32.   Add all of the additional expense deductions.                                                                                                                             $38.93
      Add lines 25 through 31.

 Deductions for Debt Payment

33.   For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans, and
      other secured debt, fill in lines 33a through 33e.
      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.
                                                                                                                                          Average monthly
                                                                                                                                          payment

       Mortgages on your home
                                                                                                                                                    $2,821.00
       33a. Copy line 9b here .....................................................................................................→

       Loans on your first two vehicles
                                                                                                                                                        $46.61
       33b. Copy line 13b here ..................................................................................................→
                                                                                                                                                      $563.55
       33c. Copy line 13e here ..................................................................................................→

       33d. List other secured debts:

           Name of each creditor for other                         Identify property that secures the                       Does payment
           secured debt                                            debt                                                     include taxes or
                                                                                                                            insurance?

                                                                                                                           ❑ No
                                                                                                                           ❑ Yes
                                                                                                                           ❑ No
                                                                                                                           ❑ Yes
                                                                                                                           ❑ No
                                                                                                                           ❑ Yes               +
                                                                                                                                                   $3,431.16     Copy total
       33e. Total average monthly payment. Add lines 33a through 33d. ...................................                                                        here→        $3,431.16




Official Form 122C-2                                                    Chapter 13 Calculation of Your Disposable Income                                                             page 5
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Debtor 2                 Megan                         Diana                             Randolph                                                         Case number (if known)
                         First Name                     Middle Name                       Last Name



 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for your
     support or the support of your dependents?

      ❑ No. Go to line 35.
      ✔ Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
      ❑
           possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

       Name of the creditor                                  Identify property that                              Total cure                              Monthly cure
                                                             secures the debt                                    amount                                  amount
                                                                                                                                          ÷ 60 =
                                                                                                                                          ÷ 60 =
                                                                                                                                          ÷ 60 =               +
                                                                                                                          Copy total             Total             $0.00
                                                                                                                          here →                                                             $0.00
 35. Do you owe any priority claims—such as a priority tax, child support, or alimony—that are past due as of the filing date of your
     bankruptcy case? 11 U.S.C. § 507.

      ✔ No. Go to line 36.
      ❑
      ❑ Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing priority claims, such as
                  those you listed in line 19.

                  Total amount of all past-due priority claims..................................................................                                                   ÷ 60

 36. Projected monthly Chapter 13 plan payment                                                                                                           $1,302.00
           Current multiplier for your district as stated on the list issued by the Administrative Office of the
           United States Courts (for districts in Alabama and North Carolina) or by the Executive Office for
           United States Trustees (for all other districts).
           To find a list of district multipliers that includes your district, go online using the link specified in
           the separate instructions for this form. This list may also be available at the bankruptcy clerk’s
           office.                                                                                                                                       X     10.00%


                                                                                                                                                                               Copy
                                                                                                                                                               $130.20         total
           Average monthly administrative expense
                                                                                                                                                                               here →      $130.20

 37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                                                 $3,561.36


Total Deductions from Income


 38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS expense allowances ....................................                                              $8,190.73

      Copy line 32, All of the additional expense deductions....................................................................                                   $38.93

      Copy line 37, All of the deductions for debt payment.......................................................................                            + $3,561.36
                                                                                                                                                                            Copy
                                                                                                                                                             $11,791.02     total         $11,791.02
      Total deductions..............................................................................................................................                        here →




Official Form 122C-2                                                        Chapter 13 Calculation of Your Disposable Income                                                                     page 6
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Debtor 1                Justin                    Edwin                       Randolph
Debtor 2                Megan                     Diana                       Randolph                                                    Case number (if known)
                        First Name                Middle Name                 Last Name


Part 2: Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)


39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
    Statement of Your Current Monthly Income and Calculation of Commitment Period.                                           ................................................................ $13,735.54

40. Fill in any reasonably necessary income you receive for support for dependent children.                                                $0.00
    The monthly average of any child support payments, foster care payments, or disability
    payments for a dependent child, reported in Part I of Form 122C-1, that you received in
    accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
    expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your                                            $939.20
    employer withheld from wages as contributions for qualified retirement plans, as specified in
    11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
    specified in 11 U.S.C. § 362(b)(19).

42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here .... →                                      $11,791.02

43. Deduction for special circumstances. If special circumstances justify additional expenses
    and you have no reasonable alternative, describe the special circumstances and their
    expenses. You must give your case trustee a detailed explanation of the special
    circumstances and documentation for the expenses.

         Describe the special circumstances                                 Amount of expense




                                                                                  +

                                                                                             $0.00       Copy here
                                                               Total                                     →                   +          $0.00

                                                                                                                                                                                      – $12,730.22
44. Total adjustments. Add lines 40 through 43........................................................................           $12,730.22                      Copy here →



45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                              $1,005.32

Part 3: Change in Income or Expenses


46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have
    changed or are virtually certain to change after the date you filed your bankruptcy petition and during the time your
    case will be open, fill in the information below. For example, if the wages reported increased after you filed your
    petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the wages increased, fill
    in when the increase occurred, and fill in the amount of the increase.

   Form             Line           Reason for change                                                                     Date of change          Increase or              Amount of change
                                                                                                                                                 decrease?
 ❑ 122C-1                                                                                                                                        ❑ Increase
 ❑ 122C-2                                                                                                                                        ❑ Decrease
 ❑ 122C-1                                                                                                                                        ❑ Increase
 ❑ 122C-2                                                                                                                                        ❑ Decrease




Official Form 122C-2                                               Chapter 13 Calculation of Your Disposable Income                                                                                    page 7
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Debtor 1           Justin               Edwin                  Randolph
Debtor 2           Megan                Diana                  Randolph                                       Case number (if known)
                   First Name           Middle Name            Last Name


Part 4: Sign Below



    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


       ✘ /s/ Justin Edwin Randolph                                                   ✘ /s/ Megan Diana Randolph
           Signature of Debtor 1                                                          Signature of Debtor 2

           Date 06/12/2024                                                                Date 06/12/2024
                  MM/ DD/ YYYY                                                                  MM/ DD/ YYYY




Official Form 122C-2                                  Chapter 13 Calculation of Your Disposable Income                                       page 8
                             Case 3:24-bk-01709-BAJ                   Doc 1       Filed 06/17/24            Page 99 of 105
 Debtor 1          Justin                Edwin                 Randolph
 Debtor 2          Megan                 Diana                 Randolph                                     Case number (if known)
                   First Name            Middle Name           Last Name




                                          Current Monthly Income Details for the Debtor(s)

                                                                   Debtor 1 Income Details:
                                                        Income for the Period 12/01/2023 to 06/01/2024.


Employment Income
Source of Income: Jacobs Technology Inc.
Income by Month:
                          Date                    Income                   Deductions                     Net
  6 Months ago               12/2023                 $6,990.01                 $1,476.80                   $5,513.21
  5 Months ago               01/2024                 $6,011.40                 $1,281.82                   $4,729.58
  4 Months ago               02/2024                 $5,592.00                 $1,176.77                   $4,415.23
  3 Months ago               03/2024                 $6,990.00                 $1,457.00                   $5,533.00
  2 Months ago               04/2024                 $5,592.00                 $1,176.90                   $4,415.10
  Last Month                 05/2024                 $8,296.80                 $1,784.53                   $6,512.27
                    Average per month:                 $6,578.70                $1,392.30                  $5,186.40

Business Income
Source of Income: BLT Home Solutions, LLC
Income by Month:
                          Date                    Income                   Expenses                       Net
  6 Months ago               12/2023                 $1,565.00                 $1,060.00                     $505.00
  5 Months ago               01/2024                  $465.00                   $435.00                       $30.00
  4 Months ago               02/2024                  $700.00                   $713.00                     ($13.00)
  3 Months ago               03/2024                  $850.00                   $404.00                      $446.00
  2 Months ago               04/2024                  $820.00                   $570.00                      $250.00
  Last Month                 05/2024                   $950.00                   $617.00                     $333.00
                    Average per month:                  $891.67                   $633.17                   $258.50


                                                                   Debtor 2 Income Details:
                                                        Income for the Period 12/01/2023 to 06/01/2024.


Employment Income
Source of Income: Merrill Lynch, Pierce, Fenner, & Smith Inc
Income by Month:
                          Date                    Income                   Deductions                     Net
  6 Months ago               12/2023                 $8,107.66                 $1,137.75                   $6,969.91
  5 Months ago               01/2024                 $7,566.78                 $1,003.77                   $6,563.01
  4 Months ago               02/2024                 $7,163.51                 $1,282.17                   $5,881.34
  3 Months ago               03/2024                 $6,937.53                 $1,464.45                   $5,473.08
  2 Months ago               04/2024                 $3,881.16                   $565.52                   $3,315.64
  Last Month                 05/2024                 $7,733.42                 $1,176.14                   $6,557.28
                    Average per month:                 $6,898.34                $1,104.97                  $5,793.38




Official Form                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period             page 1
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                       MIDDLE DISTRICT OF FLORIDA
                                                         JACKSONVILLE DIVISION

IN RE: Randolph, Justin Edwin                                                         CASE NO
       Randolph, Megan Diana
                                                                                      CHAPTER 13




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     06/12/2024             Signature                           /s/ Justin Edwin Randolph
                                                                      Justin Edwin Randolph, Debtor


Date     06/12/2024             Signature                           /s/ Megan Diana Randolph
                                                                  Megan Diana Randolph, Joint Debtor
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                     Affirm, Inc.
                     Attn: Bankruptcy Attn: Bankruptcy
                     650 California St , Fl 12
                     San Francisco, CA 94108-2716



                     AMAZON CAPITAL SERVICES,
                     INC.
                     410 TERRY AVE. N
                     Seattle, WA 98109



                     Capital One
                     1680 Capital One Drive
                     Mc Lean, VA 22102




                     Chase Card Services
                     Attn: Bankruptcy P.O. 15298
                     Wilmington, DE 19850




                     Citi Card/Best Buy
                     Attn: Citicorp Cr Srvs Centralized
                     Bankruptcy
                     PO Box 790040
                     St Louis, MO 36179-0040


                     Citibank/The Home Depot
                     Citicorp Cr Srvs/Centralized Bankruptcy
                     PO Box 790040
                     St Louis, MO 63179-0040



                     Coast to Coast Financial
                     101 Hodencamp Rd Ste 120
                     Thousand Oaks, CA 91360




                     Comcast Xfinity
                     141 NW 16th Street
                     Pompano Beach, FL 33060
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                     Comenity Bank/Bealls Florida
                     Attn: Bankruptcy
                     PO Box 182125
                     Columbus, OH 43218



                     Comenity Bank/Maurices
                     Attn: Bankruptcy
                     PO Box 182125
                     Columbus, OH 43218



                     Comenity Bank/Victoria
                     Secret
                     Attn: Bankruptcy
                     PO Box 182125
                     Columbus, OH 43218


                     Comenity Bank/Zales
                     Attn: Bankruptcy
                     PO Box 182125
                     Columbus, OH 43218



                     Cornerstone
                     Po Box 82561
                     Lincoln, NE 68501




                     Credit Karma/Credit Builder
                     Attn: Bankruptcy 1100 Broadway .Ste
                     1800
                     Oakland, CA 94607



                     Credit One Bank
                     P.O. Box 98872
                     Las Vegas, NV 89193




                     Department of
                     Education/Neln
                     P.O Box 82561
                     Lincoln, NE 68501
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                     Department of
                     Education/Neln
                     P.O. Box 82561
                     Lincoln, NE 68501



                     Department of
                     Education/Neln
                     P.O. Box82561
                     Lincoln, NE 68501



                     Discover Financial
                     Attn: Bankruptcy
                     PO Box 3025
                     New Albany, OH 43054



                     First Federal Bank Of
                     4705 W Us Highway 90
                     Lake City, FL 32055




                     GM Financial
                     4001 Embarcadero Dr
                     Arlington, TX 76014




                     Goldman Sachs Bank USA
                     P.O. Box 7247
                     Philadelphia, PA 19170-6112




                     Harley Davidson Financial
                     Attn: Bankruptcy
                     PO Box 22048
                     Carson City, NV 89721-2048



                     Kohl's
                     Attn: Credit Administrator
                     PO Box 3043
                     Milwaukee, WI 53201-3043
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                     LoanCare Mortgage
                     P.O. Box 37628
                     Philadelphia, PA 19101-0628




                     Navy FCU
                     Attn: Bankruptcy
                     PO Box 3000
                     Merrifield, VA 22119-3000



                     Performance Finance
                     Attn: Bankruptcy Attn: Bankruptcy
                     1515 West 22nd Street , Suite 100W
                     Oak Brook, IL 60523



                     Santander Consumer Usa
                     Attn: Bankruptcy
                     PO Box 961211
                     Fort Worth, TX 76161



                     Sezzle
                     PO Box 3320
                     Minneapolis, MN 55403




                     Synchrony Bank/Care Credit
                     Attn: Bankruptcy
                     PO Box 965060
                     Orlando, FL 32896



                     Telecom Selfreported
                     P.O. Box 4500
                     Allen, TX 75013




                     Telecom Self-reported
                     Po Box 4500
                     Allen, TX 75013
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                     Turner Pest Control
                     8400 Baymeadows Way #12
                     Jacksonville, FL 32256




                     United States HUD
                     2488 E. 81st. St. #700
                     Tulsa, OK 74137




                     Utility Selfreported
                     P.O Box 4500
                     Allen, TX 75013




                     Utility Self-reported
                     Po Box 4500
                     Allen, TX 75013




                     Vystar Credit Union
                     P.O. Box 45085
                     Jacksonville, FL 32232-5058




                     World Omni Financial Corp.
                     PO Box 991817
                     Mobile, AL 36691
